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Eric D. Wong
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                                                                      July 14, 2022
VIA ECF AND E-MAIL (CronanNYSDChambers@nysd.uscourts.gov)
Honorable John P. Cronan, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street, Room 1320
New York, NY 10007

         Re:       Klein v. Jelly Belly Candy Company
                   Docket No. 1:22-CV-05629 (JPC) (JLC)___________________________

Dear Judge Cronan:
                                                                                                                    ALBANY
         We represent Defendant Jelly Belly Candy Company (“Jelly Belly”), and write                                AMSTERDAM
                                                                                                                    ATLANTA
regarding our July 7, 2022 pre-motion letter notifying the Court of Jelly Belly’s                                   AUSTIN
anticipated motion to dismiss the Complaint (ECF No. 4). Plaintiff did not respond to                               BOCA RATON
Jelly Belly’s pre-motion letter within the time permitted by Rule 6(A) of Your Honor’s                              BOSTON
                                                                                                                    CHICAGO
Individual Rules and Practices in Civil Cases. Accordingly, Jelly Belly respectfully                                DALLAS
requests that the Court adopt Jelly Belly’s proposed briefing schedule, so Jelly Belly may                          DELAWARE
file its motion to dismiss on July 22, 2022.                                                                        DENVER
                                                                                                                    FORT LAUDERDALE
                                                                                                                    HOUSTON
         We thank the Court for its time and attention to this matter.                                              LAS VEGAS
                                                                                                                    LONDON*
                                                                      Respectfully submitted,                       LOS ANGELES
                                                                                                                    MEXICO CITY+
                                                                                                                    MIAMI
                                                                      GREENBERG TRAURIG, LLP                        MILAN**
                                                                      By: /s/ Eric D. Wong                          NEW JERSEY

                                                                             Eric D. Wong                           NEW YORK
                                                                                                                    NORTHERN VIRGINIA
                                                                      Attorneys for Defendant                       ORANGE COUNTY
cc: Counsel of Record via ECF and e-mail                                                                            ORLANDO
                                                                                                                    PHILADELPHIA
                                                                                                                    PHOENIX
                                                                                                                    ROME**
                                                                                                                    SACRAMENTO
                                                                                                                    SAN FRANCISCO
                                                                                                                    SEOUL∞
                                                                                                                    SHANGHAI
                                                                                                                    SILICON VALLEY
                                                                                                                    TALLAHASSEE
                                                                                                                    TAMPA
                                                                                                                    TEL AVIV^
                                                                                                                    TOKYO¤
                                                                                                                    WARSAW~
                                                                                                                    WASHINGTON, D.C.
                                                                                                                    WESTCHESTER COUNTY
                                                                                                                    WEST PALM BEACH
                                                                                                                    * OPERATES AS
                                                                                                                      GREENBERG TRAURIG MAHER LLP
                                                                                                                    +    OPERATES AS
                                                                                                                         GREENBERG TRAURIG, S.C.
                                                                                                                    **   STRATEGIC ALLIANCE
                                                                                                                    ∞    OPERATES AS
                                                                                                                         GREENBERG TRAURIG LLP
                                                                                                                         FOREIGN LEGAL CONSULTANT OFFICE
                                                                                                                    ^ A BRANCH OF
                                                                                                                      GREENBERG TRAURIG, P.A.,
                                                                                                                      FLORIDA, USA
GREENBERG TRAURIG, LLP         ATTORNEYS AT LAW                                                                    ¤ OPERATES AS
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500 Campus Drive, Ste 400      Florham Park, New Jersey 07932-0677      Tel 973.360.7900      Fax 973.301.8410   ~    OPERATES AS
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